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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                    SAVANNAH DIVISION

UNITED STATES OF AMERICA,                )
                                         )
v.                                       )            CR418-147
                                         )
ALLEN GRADY,                             )
                                         )
      Defendant.                         )

                                 ORDER

      The Government has moved for reciprocal discovery from defendant

Allen Grady and to compel him to provide fingerprint exemplars. Docs.

375 & 468. The Court held a hearing on both motions on October 15,

2019. The parties agreed that the motion to compel had been rendered

moot and the motion for reciprocal discovery was unopposed.

Accordingly, the motion to compel is DISMISSED as moot. Doc. 468.

The reciprocal discovery motion is GRANTED. Doc. 375. Defendant is

DIRECTED to turn over all discovery required by Fed. R. Crim. P. 16, if

any, within seven days of the date of this Order.

      SO ORDERED, this 15th day of October, 2019.

                                   _______________________________
                                     __________________________
                                   CHR       ER L. RAY
                                    HRISTOPHER
                                     RISTOPH
                                           HER
                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
